             Case 2:05-cr-00138-JCC          Document 41         Filed 05/24/05      Page 1 of 2



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 7
                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
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      UNITED STATES OF AMERICA,
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                             Plaintiff,
11                                                                   CASE NO. CR05-0138C
              v.
12                                                                   ORDER
      MARK JACK BANICEVIC,
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                             Defendant.
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            This matter has come before the Court on Defendant Banicevic’s motion for a continuance of the
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     trial date (Dkt. No. 31) and his motion for an extension of time in which to file pre-trial motions (Dkt.
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     No. 33). Having considered the papers filed by the parties, the records and files herein, and the motions
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     for continuance of pretrial motions date and the trial date, the Court hereby makes the following findings:
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            1.      The Court finds that a failure to grant the continuance would deny counsel the reasonable
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                    time necessary for effective preparation, taking into account the exercise of due diligence,
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                    within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
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            2.      The Court further finds that the ends of justice will be served by ordering a continuance in
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                    this case, that a continuance is necessary to insure effective trial preparation and that these
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                    factors outweigh the best interests of the public in a more speedy trial, within the meaning
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26   ORDER – 1
             Case 2:05-cr-00138-JCC         Document 41        Filed 05/24/05      Page 2 of 2



 1                  of 18 U.S.C. § 3161(h)(8)(A).

 2          It is therefore ORDERED that the time within which pretrial motions must be filed in this case be

 3   extended to July 7, 2005, and that the trial date be continued from June 6, 2005, to August 1, 2005. It is

 4   further ORDERED that the period of time from the current trial date of June 6, 2005 up to and including

 5   the new trial date of August 1, 2005, shall be excludable time pursuant to the Speedy Trial Act, 18

 6   U.S.C. § 3161 et seq.

 7          Defendant Banicevic is directed to file a speedy trial waiver by June 1, 2005.




                                                          A
 8          SO ORDERED this 24th day of May, 2005.

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                                                          UNITED STATES DISTRICT JUDGE
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26   ORDER – 2
